










COURT OF APPEALS
SECOND DISTRICT OF TEXAS
FORT WORTH
&nbsp;
NO. 
2-04-330-CV
&nbsp; 
&nbsp; 
ELIZABETH 
ROHR&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLANT
&nbsp; 
V.
&nbsp; 
R. 
CRAIG SAUNDERS&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLEE
&nbsp; 
&nbsp; 
----------
&nbsp;
FROM 
THE 211TH DISTRICT COURT OF DENTON COUNTY
&nbsp;
----------
&nbsp;
MEMORANDUM OPINION1 AND JUDGMENT
------------
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On 
December 10, 2004 and February 4, 2005, we notified appellant, in accordance 
with rule of appellate procedure 42.3(c), that we would dismiss this appeal 
unless the $125 filing fee was paid.  Tex. R. App. P. 42.3(c).&nbsp; Appellant 
has not paid the $125 filing fee.&nbsp; See Tex. R. App. P. 5, 12.1(b).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because 
appellant has failed to comply with a requirement of the rules of appellate 
procedure and the Texas Supreme Court's order of July 21, 1998,2 
we dismiss the appeal.&nbsp; See Tex. 
R. App. P. 42.3(c), 43.2(f).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant 
shall pay all costs of this appeal, for which let execution issue.&nbsp; See 
Tex. R. App. P. 5.
&nbsp;&nbsp;&nbsp; 
&nbsp;&nbsp;&nbsp;&nbsp; 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER 
CURIAM
&nbsp; 
&nbsp; 
&nbsp;&nbsp; 
PANEL 
D: HOLMAN, GARDNER, and WALKER, JJ.
&nbsp;
DELIVERED: 
March 10, 2005


NOTES
1.&nbsp; 
See Tex. R. App. P. 47.4.
2.&nbsp; 
July 21, 1998 “Order Regarding Fees Charged in Civil Cases in the Supreme 
Court and the Courts of Appeals,” 971-972 S.W.2d (Tex. Cases) XXXVIII (1998).



